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  OneContent: Generated By JFAcaldwellc




                                                             JACKSON HOSPITAL AND CLINIC
                                                              Admission Assessment Report
                                                       08/0312018 19:15 through 09/07/2018 03:14
      Patient Name:     ARINENDARIZ,DANIEL
      Visit ID:         2010784474                         MR Number: 769575                               DOB;             1978
      Admitted:         08/04/2018 01:49                   Attending:        STEPHEN K KWAN
      Admitting Diagnosis:

      Allergies                                                                                                                         Allergy Date


      No Known Allergies                                                                                                                 08/03/2018
      Last Documented by JOHN SARGENT,RN Ofi 08103/2018 19:19

                                                                                                LootDom Tily11      Slut Dots          Stop DM


     We*
     unicovai orally every 24 hours
     Lest Documented bY: JOHN SARGENT, RN on 08/04/2118 0203

     Busper
     unknown wally 2times per day
     Last Documented by:JOHN SARGENT,RN on 08/04/2018 02:03

     asporlaPieblims


     Anxiety
     Start Date: Unknown
     TYPE Problem STATUS: Active
     Last Documented by JOHN SARGENT,RN on 08J03/2018 19;28

     Depression
     Stift Date Unknown
     TyPE:Diagnosis STATUS: Active
     Last Documented by JOHN SARGENT,RN on 08/0312018 19:28

                                                                                                                                   Entry Date
                             Entered By     JOHN SARGINT,RN
                             Pt. Location: EMERGENCY DEPARTMENT MAJOR 20A
                             Temp           Pulse     Resp              BP              02%         Ht         Wt

     08/03/2018 19:27        98.2 F        86         28                122/89          98.0%       88.00 in   180.00 lbs          08X3/2018 19:27
                                                                                        98.0

     Assessment Date                                                                                                               Entry Date
                             Admission Dale
                             Entered By: .10t,8+/ SARGENT,RN
                             Pt. Location: ED IP WAIT E0/03/20

     08/04/2018 0200         Patient Anivai Time on Unit                     0215                                                  08/04/2018 02:12
                             Admit to Medical/Surgical Critical Care Unit 08/04/2018 02:15                                         08/04/2018 02:12
                             Recent Foreign Travel (if yes, indicate no                                                            08/0412018 02:12
                             where/when)
                             Emergenoy Contact #1 Name/Relationship priaori                                                        08/041201802:12
                                                                                      in kook                                      0111002046-0042---
                             Primary Care Physician                          prison                                                08/04/2018 0212
                             Last Seen by POMMY Care Physician            8/2018                                                   08/04/2018 02:12
                             Patient Oriented to                             Bed Controls                                          08/04120180212


     08/07/2018 03:14                 NOTE: AR strikeouts were executed by per;on maldng original entry.                                Page 1 of 4



Patient: ARIAENDARIZ, DANIEL           SiIRN: 769575       Page 1 of 4
                   Case 2:19-cv-01046-MHT-CSC Document 83-1 Filed 09/15/20 Page 3 of 6


' OneContent:Generated By JI-kaldwelle




                                                                JACKSON HOSPITAL.AND CLINIC
                                                                 Admission Assessment Report
                                                          08/03/2015 19:15 through 0$/07/2918 03:14
       Patient Nuns:       ARMENDARIZ,DANIEL
       Visit ID:    •      2010784474                         MR Numben 769575                               DOB:       /1976
       Admitted:    •      08/04/201801:49                    Attending    STEPHEN K KWAN
       Admitting Diagnosis:
      Assessment Date                                                                                                           Entry Date
                               Admission Date
                               Entered By JOHN SARGENT,RN
                               Pt. Location: ED IP WAIT E0/112/20

       08104/2018 02:00         Petieni Oriented to                        Light in Reach                                       08/04/2018 0212
                                                                           Cell System in Reach
                                                                           Snicking, Cell Phone and Visiting Policies
                                                                           ID Bracelet PretalstIon Alerts and Checks
                                                                           Bathroom Emergency Light
                                                                           TelephonelTelevision
                                                                           Unit Routine
                                                                           Sighs SyrnptOrns to Report to Nurse
                                                                           Ctintacting Nutse
                                                                           White Board
                                                                           HIPAA Policy
                                Patient Rights/Responsibilties Reviewed    With Patient                                         08/04/2018 02:12
                                How to Report Concerns Reviewed            With Patent                                          08/04/2018 02:12
                               Durable Power of Attorney(POA)for           No                                                   0810412018 0212
                               healthcare
                               Anive From                                  Emergency Depatknent                                 08/04/2018 0212
                               info Provided By                            Patient                                              08/04/2018 02:12
                                Previous Blood Transfusion                 No        .                                          08/04/2018 02:12
          .•                   influenza Vaccine Risk / Contraindication   Not Influenza Season.Season is October 1ei March     08/04/2018 02:12
                               Assessment                                  310.
      AssessmentDate                                                                                                            Entry Date
                               Belongings
                               Entered By      JOHN SARGENT,RN
                               Pt. Locellon: ED IP WA1T E011P/20

      08/04/2018 0200           Hospital Not Responstile for Patient       Patient informed                                     08/0412018 0212
                                Belongings
                                Disposition ot Patient Meds                None                                                 08/04/2018 02:12
                                Valuables Kept with Patient                Top/Shirt                                            08/04/2018 02:12
                                                                           Pants/Skirt
                                                                           Undergarments
                                                                           Shoes
      Assessment Date                                                                                                           Entry Date
                               Psychosoclal Rellglous Screening
                               Entered By: JOHN SARGENT,RN
                               Pt. Location: ED IP WAIT EO/IP/20

      08/04/2018 02:02         Recently Felt Nraid lor Safety at Home      No                                                   08/04/2018 02:12
                               Obsetved Signe of Possible Abuse                                                                 08/04/2018 02:12
      08/84/2018 02.00         Group Note: etab wounds                                                                          08/0412018 02:14


      nefcrnat     03:14                 NOTE: AR strikeouts were executed by person meidng original entsy                           Page 2of4



 Patient: ARMENDARIZ, DANIEL              IvIRN:769575        Page 2 of4
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                                                                 JACKSON HOSPITAL AND CLINIC
                                                                   Admission Aisessment Report
                                                           08/03(2018 19:15 through 08/07/2018 03:14
      Patient Name:     ARMENDAR1Z,DANIEL
      Visit 10:         2010781474                            frili Number 789575                         DO8.   11978
     Admitted:          00412018 01:49                        Attending:   STEPHEN K KWAN
     Admitting Diegrx...is.
    Assessment Date                                                                                                      Entry Date
                                Psychosocial Religious Screening
                                Entered By: JOHN SARGENT,RN
                                Pt. Location: ED IP WAIT ECIIP/20

     08/04/2018 023)0           Concerned about Condition                  Change in Activtly                            08/04/2018 02:12
                                Cunent Life Stresscrs                      Health                                        08434/2018 02:12
                                Coping Mechanisms                          Exercise                                      08/04/2018 02:12
                                Observed Behavior                          Age Approprtate                               08/04/2018 0212
                                Suicide Risk                               Score less than 6 = Low Risk                  08/04/2018 02:12
    Assessinent Dote                                                                                                     Entry Date
                                Nutrition and Elfmtnation Screening
                                Entered Sy: JOHN SARGEK Rhi
                              - Pt, Location: ED IP WAIT EO/IP/20

   , 08/04/2018 02:00           Nutrition Triggers for Dietician Consult   No Trigger identified                         08/04/2018 02:12
                                APPeifie                                   Good                                          08/0412018 02:12
                                Home Diet                                  Regular                                       08/04/20180212
                                Feeding Assistance                         None Needed                                   08/04/2018 02:12
                                Bowel Elimination Assessment               No Bowel Concerns or Needs                     O8/0412018 0212
                                Urinary Elimination Assessment             No Urinary Concerns or Needs                  08/04/2018 02:12
    Assessment Date                                                                                                      Entry Date
                                Functional and Mobility Screening
                                Ent=red        - JOHN SARGENT,RN
                                Pt. location: ED IP WAIT EO/IP/20

     08/0412018 MCO             ADL Assistance Needed                      walking                                       08/04/2018 02:12
                                A01. Difficulties Onset in Past 2 Weeks    No                                            •0,8l04/2018 02:12
                                Pre-Admit Assistive Devices                None                                          08/04/20180212
                                Home Durable Medlcal Equipment             None                                          00/04/2018 02:12
                                Weakness                                   None                                          08/0412018 0212
                                Paralysis                                  None                                          08/0412018 02:12
                                Parasthesia                                None                                          0810442018 02:12
                                Amputation                                 None                                          08/04/2018 0/12
    AssessmentDate                                                                                                       Entry Date
                               Record Skin Lesions
                               Entered By: JOHN SARGENT,ROHN SARGENT,RN
                               Pt. Location: ED IP WAIT EO/IP/20

     0810412018 02:00          Category Note: there are 18 stet'wounds to the upper track                                08104/2018 02:13

                               *OM(    *AVM                                                                              00/0412010 O'Z12
                               1-lead, Anterior                            Abrasions                                     08/002018 02:12




    081071018 03:14                         NOTE: All strikeouts were executed by person making original entry                 Page 3of 4



Patient: ARMENDARIZ,DANIEL                  MRN:769575         Page 3 of4
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 OneContent: Generated By JI-Acaldwelic




                                                              JACKSON HOSPITAL.AND CLINIC
                                                              Admission Assessment Report
                                                        08103/2018 19:15 thmugh 08l07/2018 03:14
     Patient Name:      ARMENDARIZ,DANIEL
     Visit 113:         2010781474                        MR Nurnbec 789575                               DOB:        /1978
     Admitted:          08/0412018 01:49                  Attending:   STEPHEN K KWAN
     Admitting Diagnosis:
    Assessment Date                                                                                                            Entry Date
                             Discharge Planning and Privacy
                             Entered By:   JOHN SARGENT,RN
                             Pt. Location: ED IP WAIT E0/112/20

     08/04/2018 02:00        LMng Situation Prior to Admission         Prison                                                  0843412018 02:12
                             Living Situation Discharge Go&            Prison                                                  08/04/2018 02:12
                             Concems about Help Once Home              NOM                                                     08l0412018 02:12
                             Community Resources Prior to Admission    None                                                    08/04/2018 0212
                             Catecjvers avaltableit needed post        NOnti                                                   08/04/2018 02:12
                             discharge
                             Responsige tor Care ot Others                                                                     08/0412018 02•12
    Assessment Data                                                                                                            Enby Date
                             VTE Prophylaxis Assessment
                             Entared By:   JOHN SARGINT,RN
                             Pt. Location: ED IP WAIT EO/IP/20

    08/04/2018 02:00         B                                         Patient Is Lbw Risk for VTE - Currently Ambulatory or   08/0412018 02:12
                                                                       Minor / Local Surgery
    Assessment Date                                                                                                            Entry Date
                             Mittel Paln Assessment
                             Entered By: JOHN SARGENT,RN
                             Pt. Location: ED IP WAIT ED/IP/20

    08/04/2018 02:00         Pain Scale Used                           Nurnerio                                                08/0412018 0212
                             Pain Goal                                 Peln Frea                                               08/0412018 02:12
                             Pain Aggrevataig Factors                  NlA                                                     08/0412018 02:12
                             Pain Weving Factors                       NIA                                                     08104/2018 0212
    Aasessment Date                                                                                                            Entry Date
                             Latex Allergy Screening
                             Entered By: JOI-94 SARGENT,RN
                             Pt. Location: ED IP WAIT EO/IP/20

    08/04/2018 0200          Latex Allergy Screening                   No - Norio of the Latex Allergy indicators              08/0412018 02:12




    08/07/2018 03:14                  NOTE: All strikeouts were executed by person maidng original entry.                           Page 4 of 4



Patient: ARMENDARIZ,DANIEL               MRN:769575        Page 4 ci4
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   JACKSON HOSPITAL AND CLINIC, INC.                      JACKSON IMAGING CENTER

           1725 PINE STREET'                                 1825 PARK PLACE
        MONTGOMERY, AL 36106                              MONTGOMERY, AL 36106

                       Order Location: 3W
  Name: DANIEL ARNENUARIZ               DOB:       /1976
  Physician: DORIS D DONALD             Patient Location: 3W/314
  MRN: 769575                           Account 11: 2010781474
  Order ID: 0003378154

  Clinical Data: stab wound
  Procedure: CT CHEST WITH CONTRAST
  notate:E.-Exam:08/03/20a   -    Date of Transcription: 08/04/2018



  CT CHEST. WITH CONTRAST

  INDICATION: Stab wound.

  TECHNIQUE:
  75 cc,s Isovue 370 given intravenously.         Automated Exposure
  Control was utilized.

  FINDINGS:
  Thyroid gland appears normal. The thoracic aorta is normal in
  caliber and patent without evidence of atheroSclerotic disease.
  The pulmonary artery is normal in size and patent Centrally. The
  heart is normal in size. No pathologic adenopathy. No pericardial
  effusion. The large airways are patent. There iS a noderate left
  and small right anterior pneumothorax. There is partial collapse
  of the left upper and left lower lobes. -There is also mild
  atelectasis involving the right upper, lower, and middle lobes.
  small volume hemoperitoneum.

  There is gas and bilateral back soft tissues from stab wounds. No
  acute osseous abnormality.

  IMPRESSION:

  MODERATE LEFT AND MILD RIGHT PNEUMOTHORACES WITH SCATTERED
  ATFLFCTASIS AS ABOVE.

  SMALL VOLUME HE:KOPER/MIMI:M.

; ST/iB WOUNDS TO THE BACK.
  Dictated by: SCOTT BERL
  Verified by: SCOTT BERL
  Transcribed by: JOANNE HOILOND




Patient: ARMENDARIZ,DANIEL   WIRN:769575   Page 1 of 1
